Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 1 of 10 PageID #: 360




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------x
UNITED STATES OF AMERICA

                                                              NOT FOR PUBLICATION
         -against-
                                                              MEMORANDUM & ORDER
                                                              95-CR-00077 (CBA)
TODD ELLERBY,
                           Defendant.
----------------------------------------------------------x

AMON, United States District Judge:

         On June 21, 1995, Defendant Todd Ellerby was convicted after a jury trial before the

Honorable Reena Raggi of three substantive Hobbs Act robberies and Hobbs Act conspiracy, in

violation of 18 U.S.C. § 1951, and three counts of using, possessing, and carrying a firearm in the

course of the Hobbs Act violations, in violation of 18 U.S.C. § 924(c). (ECF Docket Entry (“D.E.”)

# 69.)      On November 3, 1995, Ellerby was sentenced by Judge Raggi to 627 months’

imprisonment—four 87-month terms for the Hobbs Act counts, running concurrently, plus the

required consecutive 540-month mandatory minimum for the § 924(c) counts. (D.E. ## 96; 136

(“Sent. Tr.”) at 20:21–21:2.) At the time, the terms for the § 924(c) counts—60 months for the

first such count and 240 months each for the second and third such counts—were required to run

consecutively in a practice known as “stacking.” Ellerby is expected to be released in 2040.

Ellerby now moves this Court for a reduction of sentence due to “extraordinary and compelling

reasons,” pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). For the reasons stated below, I GRANT

Ellerby’s motion and will conduct resentencing on September 11, 2020.

                                                 DISCUSSION

         As a threshold matter, the parties dispute whether Ellerby satisfied the requirement of

§ 3582(c)(1)(A) to first request that the warden of his facility move for a sentence reduction on his



                                                          1
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 2 of 10 PageID #: 361




behalf and wait 30 days before he can submit such a motion himself. Assuming this threshold is

met, the parties’ dispute is whether the First Step Act has provided me with the authority

independent of the Bureau of Prisons (“BOP”) to afford Ellerby compassionate relief and reduce

Ellerby’s sentence for “extraordinary and compelling reasons.” And if I have such authority, the

parties dispute whether a sentence reduction would be appropriate in Ellerby’s case upon

consideration of the relevant 18 U.S.C. § 3553(a) factors.

  I.   Exhaustion of Administrative Remedies

       Pursuant to § 3582(c)(1)(A), a court may grant compassionate relief only “[(1)] upon

motion of the Director of the Bureau of Prisons, or [(2)] upon motion of the defendant after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons

to bring a motion on the defendant’s behalf or [(3)] the lapse of 30 days from the receipt of such a

request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

       Ellerby has satisfied this requirement. He has submitted a certified mail receipt indicating

that his letter to the warden requesting that the warden move for compassionate release, addressed

to staff mail at FCI Otisville, was received by the facility on November 2, 2019. (D.E. ## 162-2

(“Receipt”) (showing certified mail receipt for delivery to P.O. Box 600 at FCI Otisville), 162-1

(“Gleeson Reply Decl.”) (declaring that contents of certified mail included Ellerby’s letter

requesting that warden move for compassionate release)); see also D.E. # 161-2 (“Gov’t Ex. 2”)

(listing FCI Otisville staff mailing address as P.O. Box 600).) Since 30 days passed with no

response from the warden, Ellerby has met the exhaustion requirement.




                                                 2
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 3 of 10 PageID #: 362




 II.   This Court’s Authority to Reduce Ellerby’s Sentence for “Extraordinary and
       Compelling” Reasons

       The parties dispute whether I now have the authority, after the First Step Act’s amendment

of § 3582(c)(1)(A), to reduce Ellerby’s sentence for “extraordinary and compelling” reasons other

than those enumerated in Application Note 1(A)–(C) of the Sentencing Commission’s Policy

Statement. For the reasons stated below, I find that I do.

       Any sentence reduction pursuant to § 3582(c)(1)(A)(i) must be “consistent with applicable

policy statements issued by the Sentencing Commission.” The Sentencing Commission’s Policy

Statement specifies four circumstances that would constitute “extraordinary and compelling

reasons” under § 3582(c)(1)(A)(i): (A) the medical condition of the defendant; (B) the age of the

defendant; (C) the defendant’s family circumstances; (D) and “other reasons.” U.S.S.G. § 1B1.13

cmt. n.1. It is the fourth category—“other reasons”—that is at issue in Ellerby’s case.

       The Government argues, based upon the text of the Policy Statement, that a court can only

grant compassionate relief under subsection 1(D) upon a determination by the BOP that there is a

qualifying “other reason.” (D.E. # 161 (“Gov’t Opp’n”) at 12.) However, the Policy Statement

was enacted before the First Step Act, and the First Step Act has since eliminated the BOP’s role

as the sole gatekeeper to compassionate relief.              See United States v. Ebbers, No.

S402CR11443VEC, 2020 WL 91399, at *4 (S.D.N.Y. Jan. 8, 2020) (noting that the policy

“statement is at least partly anachronistic because it has not yet been updated to reflect the new

procedural innovations of the First Step Act”).

       I am in agreement with numerous other district courts in finding that I now have the

authority, independent from the BOP, to determine whether extraordinary and compelling reasons

other than those enumerated in Policy Statement Application Note 1(A)–(C) justify modifying the

defendant’s sentence. See United States v. Redd, No. 1:97-cr-00006-AJT, 2020 WL 1248493, *7

                                                  3
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 4 of 10 PageID #: 363




(E.D. Va. Mar. 16, 2020) (“[R]estricting the Court to those reasons set forth in U.S.S.G. § 1B1.13

cmt. n.1(A)-(C), as the Government proposes, would effectively preserve to a large extent the

BOP’s role as the exclusive gatekeeper, which the First Step Act substantially eliminated.”);

United States v. Urkevich, No. 8:03CR37, 2019 WL 6037391, *3 (D. Neb. Nov. 14, 2019) (“Other

courts have concluded that the Commission’s failure to amend Guideline § 1B1.13 and related

Commentary following the First Step Act does not preclude a court from acting on motions for

sentence reductions or using the catch-all provision in Application Note 1(D). . . . This Court

infers that . . . [it] may use Application Note 1(D) as a basis for finding extraordinary and

compelling reasons to reduce a sentence.”); see also United States v. Cantu, 423 F. Supp. 3d 345,

352 (S.D. Tex. 2019); United States v. Cantu-Rivera, No. H-89-204, 2019 WL 2578272 *1–*2

(S.D. Tex. June 24, 2019); United States v. Brown, 411 F. Supp. 3d 446, 451 (S.D. Iowa 2019);

United States v. Rodriguez, No. 17-CR-00021-WHO-1, 2019 WL 6311388, *7 (N.D. Cal. Nov.

25, 2019); United States v. Valdez, No. 3:98-CR-0133-01-HRH, 2019 WL 7373023, *2 (D. Alaska

Dec. 31, 2019); United States v. Schmitt, No. CR12-4076-LTS, 2020 WL 96904, *3 (N.D. Iowa

Jan. 8, 2020); United States v. Maumau, No. 2:08-CR-00758-TC-11, 2020 WL 806121, *4 (D.

Utah Feb. 18, 2020); United States v. O’Bryan, No. 96-10076-03-JTM, 2020 WL 869475, *2 (D.

Kan. Feb. 21, 2020); United States v. Young, No. 2:00-CR-00002-1, 2020 WL 1047815, *6 (M.D.

Tenn. Mar. 4, 2020); United States v. Owens, No. 97-CR-2546-CAB, slip. op. at 4–5 (S.D. Cal.

Mar. 23, 2020); United States v. Decator, No. CR-CCB-95-0202, 2020 WL 1676219, *3 (D. Md.

Apr. 6, 2020); United States v. Defendant(s), No. 2:99-CR-00257-CAS-3, 2020 WL 1864906, *5

(C.D. Cal. Apr. 13, 2020); United States v. Marks, No. 03-CR-6033L, 2020 WL 1908911, *6

(W.D.N.Y. Apr. 20, 2020).




                                                4
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 5 of 10 PageID #: 364




III.    “Extraordinary and Compelling Reasons” Justifying Sentence Reduction for Ellerby

       Having found that I have the authority to consider whether Ellerby’s circumstances qualify

him for compassionate relief for “other” extraordinary and compelling reasons, I turn to whether

such a circumstance exists here.

       Ellerby argues that his circumstances warrant compassionate relief because, in conjunction

with other factors, he was sentenced under the now-repealed regime of “stacked” mandatory

minimums for § 924(c) sentences, which resulted in an “indefensibly harsh” sentence. (D.E. #

157-1 (“Def. Mem.”) at 9.) At the time of Ellerby’s sentencing, multiple § 924(c) counts charged

in the same indictment would be “stacked” at sentencing because any second such conviction

would be considered a “second or subsequent” conviction for the purposes of the statute’s 20-year

mandatory minimum sentence. See Deal v. United States, 508 U.S. 129 (1993). The First Step

Act amended § 924(c) to end the imposition of these “stacked” sentences. First Step Act of 2018,

Pub. L. No. 115-391, § 403(b), 132 Stat. 5194, 5221–22. Today, Ellerby’s three simultaneous

§ 924(c) convictions would result in a 15-year consecutive sentence rather than the 45-year one

that Judge Raggi was obligated to impose.

       The Government contends that the changed circumstances do not warrant relief for Ellerby,

arguing principally that the § 924(c) amendments cannot be the basis for compassionate relief

because the amendments were not made affirmatively retroactive by Congress. (Gov’t Opp’n at

16.)

       Although the issue is not free from doubt, in the absence of contrary authority from the

Second Circuit, I am inclined to follow the numerous decisions that have found unreasonably long

sentences based on “stacked” § 924(c) terms to be an extraordinary and compelling “other reason”

that can, in conjunction with consideration of other relevant factors including the defendant’s



                                               5
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 6 of 10 PageID #: 365




rehabilitation, qualify a defendant for reduction of sentence pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). See United States v. Haynes, No. 93 CR 1043 (RJD), 2020 WL 1941478, at

*15 (E.D.N.Y. Apr. 22, 2020) (“[T]he FSA’[s] elimination of the § 924(c) sentencing weaponry

that prosecutors employed to require that sentence is an extraordinary and compelling

circumstance warranting relief under § 3582(c).”); Redd, 2020 WL 1248493, at *6 (“There is no

doubt that there is a gross disparity between the sentence Mr. Redd received and the sentence he

would have received after the First Step Act. . . . These are, the Court finds, extraordinary and

compelling developments that constitute extraordinary and compelling reasons that warrant a

reduction to Mr. Redd’s sentence of incarceration.”); see also Decator, 2020 WL 1676219, at *3;

Owens, No. 97-CR-2546-CAB, slip. op. at 6; Young, 2020 WL 1047815, at *8; O’Bryan, 2020

WL 869475, at *2; Maumau, 2020 WL 806121, at *7; Urkevich, 2019 WL 6037391, at *4;

Defendant(s), 2020 WL 1864906, at *5–6; Marks, 2020 WL 1908911 at *7; Brown, 2019 WL

4942051, at *5–6.

        The drastic disparity between the sentence Ellerby is serving and the one he would be

serving if sentenced under the present law qualifies as an “extraordinary and compelling reason”

justifying sentence modification under § 3582(c)(1)(A)(i) when considered in conjunction with

other relevant factors, infra. See, e.g., Redd, 2020 WL 1248493 at *6 (“There is no doubt that

there is a gross disparity between the sentence Mr. Redd received and the sentence he would have

received after the First Step Act. . . . These are, the Court finds, extraordinary and compelling

developments . . . .”). Although the Government’s argument is by no means frivolous, I am

persuaded for the reasons set forth in the above cases that even though Congress did not make its

§ 924(c) amendment retroactive, compassionate relief for defendants sentenced under the § 924(c)

stacking regime can be appropriate in particular cases “given the overall purpose of the First Step



                                                6
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 7 of 10 PageID #: 366




Act amendments, which expressly allowed for the possibility for a sentence reduction based on an

individualized assessment of the § 3553(a) factors and other criteria.” Id. at *9; see also Haynes,

2020 WL 1941478, at *16 (“[T]he fact that the FSA changes in § 924(c) were not explicitly

retroactive is relevant [but] ultimately has little bearing on whether the court is empowered to act

under Section 3582, because [i]t is not unreasonable for Congress to conclude that not all

defendants convicted under § 924(c) should receive new sentences, even while expanding the

power of the courts to relieve some defendants of those sentences on a case-by-case basis.”

(quoting O’Bryan, 2020 WL 869475, at *1 (internal quotation marks omitted))).

       In Ellerby’s case, I find that the combination of his long sentence under the now-repealed

§ 924(c) stacking regime and his commitment to rehabilitation while incarcerated, together with

an analysis of the factors under 18 U.S.C. § 3553(a), warrant resentencing.                  Although

“[r]ehabilitation of the defendant alone shall not be considered an extraordinary and compelling

reason,” 28 U.S.C. § 994(t), “rehabilitation is a factor that a court may consider, in conjunction

with other relevant circumstances,” Marks, 2020 WL 1908911 at *8 (emphasis omitted). As

described below, Ellerby “has demonstrated personal characteristics that reflect positively on him

and substantial rehabilitation.” Redd, 2020 WL 1248493 at *9 (granting § 3582(c)(1)(A)(i)

sentence reduction from stacked § 924(c) sentence).

IV.    Consideration of the § 3553(a) Factors in Ellerby’s Case

       Pursuant to 18 U.S.C. § 3582(c)(1)(A), a court can only grant compassionate relief for

extraordinary and compelling reasons after “considering the factors set forth in section 3553(a) to

the extent that they are applicable.” I will therefore consider: (1) the nature and circumstances of

Ellerby’s offenses; (2) Ellerby’s history and characteristics; (3) the need for his sentence to reflect

the seriousness of the offense, promote respect for the law, provide just punishment, afford



                                                  7
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 8 of 10 PageID #: 367




adequate deterrence, and protect the public; (4) the need for rehabilitation; (5) the Guidelines

range; and (6) the need to avoid unwarranted sentencing disparities. See 18 U.S.C. § 3553(a).

Although I will have further occasion to consider these factors at Ellerby’s resentencing, an initial

assessment persuades me that resentencing is appropriate.

        Ellerby’s crimes were indeed serious. He was a leader of a group that robbed several post

offices at gunpoint, terrorizing the postal workers and customers inside. He struck one victim and

detained, with handcuffs and tape, others during the robberies. (Gov’t Opp’n at 19.) The

seriousness of Ellerby’s crimes cannot be minimized, but it must be considered in conjunction with

an assessment of the duration of the sentence that the sentencing court was compelled to impose.

        As to Ellerby’s personal circumstances, at the time of his crimes, Ellerby was 28 years old.

He has now served more than 24 years of his sentence and is currently scheduled for release from

prison around his 75th birthday. Ellerby has demonstrated a commitment to rehabilitation and self-

improvement while incarcerated. He enrolled in educational courses, including computer courses,

carpentry courses, and drug, alcohol, and mental health courses.             He is now pursuing an

Associate’s degree in theology through Titus Baptist Bible College. Although not assigned to a

work posting at the FCI McDowell chapel, the chaplain writes that Ellerby has been “very active

in chapel programing, and takes a lot of initiative i[n] setting up for programs and cleaning up

afterwards.” (D.E. # 157-3 (“Nash Letter”).) The chaplain attests to Ellerby’s commitment to his

education, writing that Ellerby is “exceedingly diligent with his studies and is one of the best

students in the course, and functions as an example to other inmates who have enrolled.” (Id.)

Ellerby’s work posting is as a head orderly, and his correctional counselor wrote that he “shows

great initiative to get the job done on a daily basis” in that position. (D.E. # 157-4 (“Lilly Letter”).)

According to his correctional counselor, Ellerby has not had a disciplinary incident since 2010



                                                   8
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 9 of 10 PageID #: 368




and, at least while on her case load, “has always made every effort to follow institution rules and

regulations.” (Id.)

       The Government does not argue that Ellerby would be a danger to the community if his

sentence were reduced. See U.S.S.G. § 1B1.13(2) (requiring that a court determine that “[t]he

defendant is not a danger to the safety of any other person or to the community” before reducing

a term of imprisonment pursuant to § 3582(c)(1)(A)). The Government does argue that the fact

that Ellerby did not take a plea deal demonstrates he is unwilling to accept responsibility for his

crimes. (Gov’t Opp’n at 19.) Apart from the issue of “accepting responsibility,” I note first that

Ellerby’s decision to exercise his right to a trial should not have such devastating consequences

for him, particularly since the § 924(c) charges would not result in such a greatly enhanced

sentence today. In any event, the letters submitted on Ellerby’s behalf by his institution’s chaplain

and correctional officer suggest that he accepts responsibility for the serious nature of his past

conduct. (Nash Letter (“Our conversations have focused on his future rather than his past. I can

say, however, that he has never blamed anyone but himself for his incarceration.”); Lilly Letter

(“Mr. Ellerby accepts full responsibility for the crime he committed. He continues to display a

positive attitude on a daily basis. I believe Mr. Ellerby understands that if he is granted a reduction

in sentence that he has no more room for error.”).)

       I further conclude the extent of the sentence reduction is best addressed at a full

resentencing.

                                          CONCLUSION

       For these reasons, the Court GRANTS Ellerby’s motion for resentencing pursuant to 18

U.S.C. § 3582(c)(1)(A)(i). The Probation Department is directed to provide an updated Pre-

Sentence Report to the Court by May 29, 2020. Any submissions by the Defendant are due by



                                                  9
Case 1:95-cr-00077-CBA Document 172 Filed 04/29/20 Page 10 of 10 PageID #: 369




June 12, 2020. Any submissions by the Government are due by June 26, 2020. The Government

is directed to ensure compliance with notification requirements of the Crime Victims’ Rights Act,

18 U.S.C. § 3771. In light of uncertainties surrounding the current coronavirus pandemic and in

the interest of ensuring that a full in-person sentencing can be conducted, resentencing is scheduled

for September 11, 2020.

SO ORDERED.

Dated: April 29, 2020
       Brooklyn, New York                             _/s/ Carol Bagley Amon____________
                                                      Carol Bagley Amon
                                                      United States District Judge




                                                 10
